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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )       Case No. 22-cr-00015-APM
                                  )
STEWART RHODES, et. al.,          )
                                  )
                                  )
                 Defendants       )
                                  )



     DEFENDANT ROBERTO MINUTA’S NOTICE OF JOINDER AS TO
                        ECF NO. 494




                                  William L. Shipley
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                                  Attorney for Defendant




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      Now comes Defendant Roberto Minuta by and through his undersigned

counsel of record William L. Shipley, Esq., and hereby notifies the Court of his

intention to join Defendant Elmer Stewart Rhodes’s Motion to Continue

Sentencing Deadlines and All Related Deadlines filed as ECF No. 494, and

hereby moves the Court to consider Rhode’s motion as if the motion had been

filed by Minuta directly.


Date: April 1, 2023                         Respectfully Submitted,



                                            /s/ William L. Shipley
                                            William L. Shipley
                                            PO Box 745
                                            Kailua, Hawaii 96734
                                            Tel: (808) 228-1341
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                                            Attorney for Defendant




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                         CERTIFICATE OF SERVICE

      I, John M. Pierce, hereby certify that on this day, April 1, 2023, I caused

a copy of the foregoing document to be served on all counsel through the

Court’s CM/ECF case filing system.



                                            /s/ William L. Shipley
                                            William L. Shipley




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